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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

 IN RE: BLUE CROSS BLUE SHIELD )
 ANTITRUST LITIGATION (MDL No. )
 2406),                           )
                                  ) CIVIL ACTION NUMBER:
       Plaintiff,                 ) Master File No. 2:13-CV-20000-
                                  ) RDP
                                  )
 ________________________________ )

                       SELF-FUNDED SUBCLASS OBJECTORS’
                         POST–FAIRNESS HEARING BRIEF

      The 93.5%-to-6.5% ratio used to sell out the claims of the Self-Funded

Subclass violates the procedural and substantive requirements of Federal Rule of

Civil Procedure 23(e)(2). The proponents offered no evidence to justify such a

disproportionate allocation ratio, and the Court cited none, when the settlement was

preliminarily approved. The allocation ratio is not equitable in comparison to the

total monetary relief due the Subclass. It is not equitable when compared to the

strength of the Subclass’s claims. It is not equitable based on the relative size of the

Subclass, which makes up over 60% of the total. Nor is it equitable in terms of scope

of release. Because of this “disproportionate and facially unfair allocation,” the

Court should deny it final approval under the binding authority of Holmes v.

Continental Can, 706 F.2d 1144, 1150 (11th Cir. 1983).
      1. Standards of decision.

      Rule 23(e)(2) was amended in 2018 to specify the requirements for approval

of a class action settlement. The amended rule now provides:

         (2) Approval of the Proposal. If the proposal would bind class
      members, the court may approve it only after a hearing and only on
      finding that it is fair, reasonable, and adequate after considering
      whether:
            (A) the class representatives and class counsel have adequately
         represented the class;
            (B) the proposal was negotiated at arm’s length;
            (C) the relief provided for the class is adequate, taking into
         account:
                (i) the costs, risks, and delay of trial and appeal;
                (ii) the effectiveness of any proposed method of distributing
            relief to the class, including the method of processing class-
            member claims;
                (iii) the terms of any proposed award of attorney’s fees,
            including the timing of payment; and
                (iv) any agreement required to be identified under Rule
            23(e)(3); and
            (D) the proposal treats class members equitably relative to each
         other.

FED R. CIV. P. 23(e)(2).

      The Advisory Committee notes explain that these are the core “procedural

considerations” and “substantive qualities” that govern the Court’s decision. Id.

advisory committee’s note (2018 amendments). Subparagraphs (A) and (B) identify

“‘procedural’ concerns, looking to the conduct of the litigation and of the

negotiations leading up to the proposed settlement.” Id. Subparagraphs (C) and (D)

focus on “‘substantive’ review of the terms of the proposed settlement.” Id. There



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are several substantive concerns outlined. One is the “relief that the settlement is

expected to provide to class members.” Id. Another is “the cost and risk involved in

pursuing a litigated outcome,” which requires the Court to “forecast the likely range

of possible classwide recoveries and the likelihood of success in obtaining such

results.” Id. “Examining the attorney-fee provisions may also be valuable in

assessing the fairness of the proposed settlement,” stressing the “relief actually

delivered to the class” as a “significant factor in determining the appropriate fee

award.” Id. And finally, subparagraph (D) “calls attention to” the “inequitable

treatment of some class members vis-a-vis others.” Id. “Matters of concern could

include whether the apportionment of relief among class members takes appropriate

account of differences among their claims, and whether the scope of the release may

affect class members in different ways that bear on the apportionment of relief.” Id.

“A distribution of relief that favors some class members at the expense of others may

be a red flag that class counsel have sold out some of the class members at the

expense of others, or for their own benefit.” 4 NEWBERG ON CLASS ACTIONS § 13:56

(5th ed. 2021).

      The Eleventh Circuit’s leading case on judging the fairness of monetary

apportionment among class members is Holmes v. Continental Can. The proponents

of the settlement bear the burden of “proving” that the “disparate allocation of the

award [i]s fair, adequate and reasonable.” 706 F.2d at 1145. This is a burden of both



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production and persuasion. The proponents first have a burden of “developing a

record” to demonstrate the allocation is fair, reasonable and adequate.” Id. at 1147.

Second, where a “settlement explicitly provides for preferential treatment” of some

class members over others, the burden of persuasion becomes heavier. Id. A

“substantial burden” falls upon the proponents “to demonstrate and document its

fairness.” Rule 23(e)’s procedural and substantive standards apply with equal force

to the Court’s review of the intraclass allocation as they do to review of the overall

settlement. Id. The Court must give the allocation “close judicial scrutiny” to ensure

that “the burden of settlement is not shifted arbitrarily to a small group of class

members.” Id. at 1148. The Court cannot “allow a majority, no matter how large, to

impose its decision on the minority.” Id. If the proposed settlement contains a

“disparate distribution” of “benefits,” an inference of unfairness arises. “The

inference of unfairness may be rebutted by a factual showing that the higher

allocations to certain parties are rationally based on legitimate considerations.” Id.

Assurances or opinions of class counsel is not sufficient to justify a “disproportionate

and facially unfair allocation.” Id. at 1150. This is especially true where, as here, the

defendant agreed to a lump sum settlement and the “intraclass distribution of the

fund was left to the class and its representatives.” Id. at 1146. Reliance on the

assurances of class counsel thus recedes, and any disproportionate relief must be

justified by an “adequately developed factual record.” Id. at 1151.



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      Applying these principles, the Eleventh Circuit in Holmes reversed an

allocation that gave the 8 named plaintiffs half of the $43,775 lump sum and left 118

class members to divide the rest. Id. at 1146. The same problems—and more—

bedevil the 93.5%-to-6.5% allocation of this $2.67 billion lump sum settlement fund.

The principles of Holmes, properly applied, prevent this Court from approving such

a disproportionate allocation plan.

      2. The allocation violates Rule 23(e)(2)’s procedural fairness concerns.

      The 93.5%-to-6.5% allocation violates Rule 23(e)(2)’s procedural fairness

concerns on several levels.

      First, there are indications that the allocation was not negotiated at arm’s

length. The overall settlement amount agreed to by the BCBS Defendants was a

$2.67 billion lump sum. In exchange, the BCBS Defendants insisted on inclusion of

the Self-Funded Subclass in the release to achieve global peace. See Tr. I-15; Tr.II-

137. Allocation of the lump sum between the Fully Insured Class and the Self-

Funded Subclass was left to class counsel. See Tr. II-126–27; Doc. 2610-8 at 5.

      At the recommendation of Subscribers’ counsel, Mr. Burns was appointed to

represent the Subclass in July 2019. In November 2019, Mr. Burns determined his

range for the Subclass’s share and started his negotiations at “7 to 16 percent.” Tr.

II-125. There is no evidence to suggest that anyone with expertise in healthcare

insurance issues was involved in determining this range. Had Mr. Burns been



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advocating for a 12½- year claims period on behalf of the Subclass, his starting

highest number should have been closer to 50 or 60 percent, given that the Subclass

makes up over 60 percent of the covered lives. See Exhibits 1 & 2 to Mason Report.

Moreover, Mr. Feinberg says counsel for the Fully Insured Class started the

allocation mediation in the range of 3.4% to 6.8%. Doc. 2610-8 at 6. Settling on a

final allocation for the Subclass of 6.5%—a mere 0.3% below the Fully Insured

Class’s initial high end—indicates this was not a contentious negotiation.

      Second, there is nothing in the record to justify an allocation so

disproportionate as 93.5% to 6.5%. The explanation of the allocation appears on one

page of the motion for preliminary approval. Doc. 2610-1 at 32. There is no evidence

to support that explanation. No expert declarations were presented by either the

Subscribers or the Subclass. Once you parse the citations in support of the allocation

ratio, all you are left with is the assurances of counsel and Mr. Feinberg. See id.

(citing Doc. 2610-6 ¶ 33, Doc. 2610-7 ¶¶ 9–10 & Doc. 2610-8 ¶¶ 6, 12–14).

Contrary to the Subscribers’ argument (Doc. 2868 at 28), those assurances are not

enough. Holmes, 706 F.2d at 1150–51. None of the “evidence concerning the relative

volume of payments and differing strengths of claims for Self-Funded Accounts and

Fully Insured Claimants” (Doc. 2610-1 at 32) or the “numerous factors including the

strengths of the respective claims, the shorter Self-Funded Class Period, and the

large differences in premiums paid for fully-insured coverage as opposed to



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administrative fees charged for self-insured coverage” (id.) can be found in the

record. Anywhere. With “no support in the record” to support the allocation, the

Court should refuse to approve it. Day v. Persels & Assocs., 729 F.3d 1309, 1326–

27 (11th Cir. 2013) (vacating class action settlement allocation; “a court commits a

clear error when it makes a factual finding that has no support in the record.”).

      Third, Dr. Mason’s report shortchanges the Self-Funded Subclass from

receiving a fair allocation and is post-hoc rationalization. Dr. Mason’s report played

no role in the allocation. The first document Dr. Mason signed in the record in this

case appears in September 3, 2021, months after objections were submitted. See Tr.

II-212–13. Dr. Mason’s report attempts to defend the allocation, not recite the

factors considered in the allocation. Mason Report at ¶ 4 (stating that he “was asked

to opine upon the economic reasonableness of the Settlement Agreement…” as to

the allocation).

      If the Court looks to Kenneth Feinberg, who was directly involved in

mediating the allocation dispute, it will see the factors that motivated the allocation.

Mr. Feinberg emphasized two factors: “considerations relating to potential statute of

limitations issues and the relative size of the administrative fees paid by Self-Funded

Claimants vs. the premiums paid by FI Claimants.” Doc. 2610-8 at ¶ 12. Dr. Mason

had “no reason to disagree with anything in paragraph 12” of Mr. Feinberg’s

declaration. Tr. II-215:2–5.



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      We deal below with the limitations issue, but the gross difference between

fully insured premiums and administrative fees is an unsound basis for the

allocation. The majority of the gross amount of premiums consists of mere pass-

through charges that end up being paid to third parties. The proponents have

conceded that “amounts paid to third parties fall outside the scope of this litigation.”

Doc. 2812-1 at 126; see also Mason Report at ¶¶ 53–54.

      As Dr. Mason recognized, the Affordable Care Act requires Defendants to

spend 85% (in most instances) of fully insured premiums on medical claims. Mason

Report at ¶ 40 n.60. This is known as the “medical loss ratio.” As a result,

Defendants cannot earn a profit on 85% of the money they receive from fully insured

subscribers—85 cents of every dollar must pass through Defendants, either to a

provider as a claim payment or as a refund to the subscribers. The overcharge must

come from the 15% of premiums left over after paying claims or refunding

premiums.1

      In the fairness hearing, the Court posed a hypothetical about automotive

insurance. It posited two insurance products, one that merely processed the claim

and one that also provided a defense to the insured and paid the claim. It asked



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       Neither the Feinberg Declaration (which is the only declaration supporting the
allocation percentages prior to our Objection being filed) nor the Burns Report
(which was provided by Mr. Burns to Objectors as an explanation for the allocation)
acknowledged the medical loss ratio.

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which product would cost more. Tr. II-173:25–174:11. While the automotive

insurance product that covered claims would cost more, the hypothetical fails to

account for the critical role played by the medical loss ratio. If there were an

automotive-insurance equivalent of the medical loss ratio, the difference in

premiums between the two insurance products would mostly disappear because the

insurer would either have to pay the money out in claims or else return the difference

to its subscribers. Moreover, to fit the hypothetical to the facts of the health

insurance industry, the people insured under the competing auto insurance policies

would have to be getting the same repairs from the same shops at the same rates and

being represented by the same lawyers. All these claims-based items cost what they

cost, and there is no allegation in this case that the claims costs for the fully insured

group are different than the claims costs for the self-funded group.                The

overwhelming majority of the difference between what the groups pay is comprised

of claims costs that cannot and do not include an overcharge.

      Ugo Okpewho’s testimony establishes this point, and the proponents have not

rebutted it. He walks through how Defendants create a premium and how that

process differs for self-funded and fully insured plans. In the end, Mr. Okpewho’s

unrebutted testimony is that once the cost of healthcare claims paid by either type of

plan is removed, the only distinction in what self-funded plans pay for versus fully

insured plans is that Blue Cross builds in a cushion to cover risks it incurs if a fully



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insured plan’s claims cost exceeds 85% of the premium paid, plus taxes. Otherwise,

the cost of services purchased by both types of plans are the same and alleged

differences in markets or competition play no role. Tr. II–236:5–246:24.

      The proponents attack Mr. Okpewho for not performing an overcharge

analysis, but they miss the point. Neither he nor Dr. Mason performed an overcharge

analysis.2 In the absence of an overcharge analysis, Dr. Mason relied on theoretical

proxies based on unsubstantiated and unverified revenues and profits of BCBS. Mr.

Okpewho relied on his knowledge and experience gained from working for over 20

years in the health insurance industry, including working for three different Blue

Cross entities over twelve years, to identify the components of the prices charged to

the competing classes that could include an overcharge. He is the only person with

industry experience and knowledge of how and why rates are set who has provided

evidence in this case. His testimony shows the weaknesses in the analysis that took

place in the allocation. The proponents bear the burden of showing that the allocation

was reasonable, and he shows that it was not.

      Even setting Mr. Okpewho’s testimony aside, two sweeping problems infect

Dr. Mason’s analysis and render it unhelpful. The first problem is the one-sided



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  Dr. Mason’s report states that “I do not possess specific measures of such
overcharges for each Licensee nor have I been instructed to estimate overcharge for
each Licensee.” Mason Report at ¶ 30. Instead, Dr. Mason defers to Dr. Pakes for
even an estimate of an overcharge of a single defendant. Id. at ¶ 30 n.50.

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discount rate. Dr. Mason discounted every profit and revenue number for the Self-

Funded Subclass by half. See Mason Report at ¶¶ 39–40, 43, 48–49. The 50%

Discount argument was not included in the Feinberg Declaration or the Burns Report

nor has it ever been argued by the Subscribers. This argument was not introduced

to the Court until September 2021 in Dr. Mason’s Declaration. He applied this “late

to the game” discount (Tr. II-203) solely to account for the delay that Self-Funded

Subclass would face if it had to litigate its claims. See Mason Report at ¶ 50 (his

allocation values “include discounts for the time avoided in ASO litigation, they do

not include discounts for the probability of success of such litigation.”) He assumed

that the Self-Funded Subclass would have to wait many years (his exemplar

calculation assumed eight years) to get a judgment. Id. at ¶ 35 n.53. But he applied

no discount factor to the Fully Insured Class, which has the effect of assuming that

the Fully Insured Class’s recovery is cash in hand today.

      This unequal discounting conflicts directly with the proponents’ statements

that this case would require years to bring to a collected judgment. The proponents

repeatedly urged the Court to approve the settlement precisely because it would take

years to get to a judgment. See Tr. I-19:23–25 (“[W]hile this litigation has already

lasted nine years, if this case were to proceed to trial, the costs in time and

uncertainty would continue”); Tr. I-40:22–25 ([T]he settlement… will avert years of

complex, expensive, and risky litigation for the class”); Tr. I-51:14–22 (urging that



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the settlement grants benefits “far earlier than otherwise could have occurred if this

were to play out in endless forms of litigation” and predicting “years of extremely

costly and complex litigation in multiple forums” absent settlement approval).

      Dr. Mason admitted under cross examination that he did not discount the

claims of the Fully Insured Class at all, and he attempted to justify that choice by

noting that he understood that the Fully Insured Class started litigating sooner. Tr.

II-203:22–25. But, setting aside that Self-Funded plans were always members of the

injunctive relief class, Dr. Mason’s rationale for discounting is the time it would take

from the present to obtain a paid-up judgment. Mason Report at ¶ 35 (“Such a

discount factor typically considers both the expected amount of time that would

elapse before a litigation or settlement payment is made as well as the risk associated

with that payment.”).3 The time remaining to judgment is relevant; the time spent

litigating already is not. Everyone agrees that a paid-up judgment is years away for

both subclasses, but Dr. Mason ignored this fact and discounted one subclass’s

claims only. That decision infects all four of his analyses and effectively took half

of the money from the Self-Funded Subclass and gave it to the Fully Insured Class.4



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       As noted above, Dr. Mason did not use risk as a component of his discount
factor. His discount rate addresses “time avoided,” but “they do not include
discounts for the probability of success in such litigation.” Mason Report at ¶ 50.
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       Moreover, large fully insured plans were not added to this case until
November, 2020, the same time Subscribers say that the Self-Funded Subclass was
added. Yet, Dr. Mason applies his 50% discount theory to the Self-Funded Subclass,

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      Another weakness that touches every part of Dr. Mason’s analysis is his

inability to say what revenue items he included for the Self-Funded Subclass and the

Fully Insured Class. He treats every plan as unique by urging that knowing what

one plan provides tells you nothing about any other plan. Tr. II-207:19–23. When

asked what items of revenue he included in his analysis of ASO revenues, he

deflected, saying “I’m not an expert on this data.” Tr. II-219:7–10. He directed

Objectors to ask the Defendants. Id. Nothing in the record shows what revenues

Dr. Mason considered, and Dr. Mason did not show his work. The line items in his

analysis are essentially black boxes in which he asks us to take on faith that the

appropriate revenues (but only the appropriate revenues) are included—even though

he cannot say what those revenues are. He even admits that “reconciling” the

different items of revenue across the different Defendants “would be difficult, if not

impossible, as objectors point out.” Tr. II-231:14–16. The best he could say, in the

end, is that “[t]o some extent, it’s my understanding this revenue does cover some

of these categories expressed in general terms.” Tr. II-231:21–23. Such hedged

opinions are too thin a reed to support useful opinions or defend the shockingly

uneven allocation between the classes. Dr. Mason’s inability to answer basic




not to the large fully insured plans added the same day. That inequitable treatment
is supported by no evidence and is patently unfair.

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questions like what kinds of revenues comprise the categories he uses to compare

the classes shows that his work lacks the necessary rigor.

      Subscribers and Dr. Mason seek to rely on revenues and profits to Blue Cross

from the two types of plans to support the allocation, even though they do not

anywhere state in the record what the true revenue or profit numbers are. The

undisputed evidence is that Blue Cross accounts for self-funded revenue in ways that

actually make fully insured business look more profitable, as shown at length in our

discussion of testimony from the Anthem trial—none of which was rebutted at the

hearing or in any brief. See Doc. 2845 at 17–19 and accompanying exhibits. Blue

Cross allocates revenue from value-added services sold to self-funded plans in ways

that allow Blue Cross to spread general and administrative expenses across product

lines. Likewise, revenues from self-funded value-added services are not placed in

an ASO revenue category, but are instead placed in separate and specific categories

of revenue for identifiable items such as vision, dental, and other value-added

services. By employing these accounting measures, Anthem’s former CFO testified

that Anthem “improves the profitability of small group/large group fully insured and

large group ASO.” Doc. 2845-4 at 33 (DeVeydt Transcript at 1725:6–9). Spreading

the general and administrative expenses across product lines appears to reduce the

profitability of national home ASO, but “makes the other lines of business more

profitable.” Doc. 2845-4 at 34 (DeVeydt Transcript at 1726:10-21). One of the



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benefits of winning an ASO account is that Anthem gets to sell the ancillary value-

added services, which then allows Anthem to spread the revenues of those services

across all product lines. Id. at 35 (DeVeydt Transcript at 1727:12–24). To know the

actual profitability of the self-funded business, the revenues must be pulled from

each of the separate categories of services in which the revenues are placed. Id. But

BCBS does not account for self-funded business that way. Id. at 32–33 (DeVydt

Transcript at 1724:18–1725:16); see also Exhibit B (collecting relevant Anthem

transcript pages).

      Exhibits A–F to Subscribers’ post-hearing brief suffer from the same

complexity, lack of transparency, and confusion as to what may be the actual

revenues and profitability from the self-funded plans described by Mr. DeVeydt. As

set forth by BDO in its Report responding to the Subscribers’ post-hearing brief and

new exhibits, none of the exhibits describe what fully insured premiums and self-

funded fees contain.

      In contrast, BDO’s report relies on Mr. Okpewho’s years of industry

experience, including his twelve years at Blue Cross, to describe the problems with

Subscribers’ arguments from their exhibits. In short, Blue Cross’s accounting for

the various revenues from self-funded plans is incredibly complicated and is not

transparent. BDO Report, Ex. A.




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      Fourth, the Court erred in preventing the Self-Funded Subclass from

examining input from counsel for the Fully Insured Class on Dr. Mason’s report. See

Doc. 2862; Tr. II-82. The Court has a fiduciary obligation to ensure that the

settlement is not collusive and to guard against settlements that benefit the class

representatives or their counsel at the expense of absent class members. In re

Equifax, 999 F.3d 1247, 1265 (11th Cir. 2021). The allocation of $2.67 billion

between the Fully Insured Class and the Self-Funded Subclass is a “zero-sum” game:

“a gain to one party entails a corresponding loss for the other parties.” Holmes, 706

F.2d at 1160. Thus, counsel for either side of this intraclass divide will remain

adversaries “until the district court approves the settlement.” Equifax, 999 F.3d at

1264. Plus, objectors to the allocation “cause the settlement process to be more

adversarial.” Id. at 1265. The Court thus erred in holding that counsel for the Fully

Insured Class and counsel for the Self-Insured Subclass somehow had a “common

interest” in crafting Dr. Mason’s post-hoc report. The common interest privilege

does not apply to this adversarial situation. United States v. Almeida, 341 F.3d 1318,

1324–25 (11th Cir. 2003); Garner v. Wlfinbarger, 430 F.2d 1093, 1103 (5th Cir.

1970); 1 MCCORMICK ON EVIDENCE § 91.1 (8th ed. 2020); RESTATEMENT (THIRD)

OF THE LAW GOVERNING LAWYERS        § 75 (2000).

      This privilege assertion is especially troubling because Subscribers described

Dr. Mason as the expert for the Self-Funded Subclass, suggesting that he was



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independent of the Fully Insured Class. Doc. 2812-1 at 107. His report says that he

is opining on behalf of the Self-Funded Subclass, not both subclasses together.

Mason Report at ¶ 4. For the Subclass’s retained expert to urge that its claims could

have de minimis value raises troubling and unanswered questions. Mason Report at

¶ 43. For example, Dr. Mason includes the Gross Revenue formula in his analysis

even though he admits that this formula overstates the fully insured allocation

percentage by up to 85%. Mason Report at ¶ 60 n.60. Similarly, Dr. Mason’

decision to apply a new 50% discount rate to all of his proposed formulas is neither

supported by any published rationale nor appropriate in view of the facts. Indeed,

the discount theory was not mentioned by either the Subscribers or the Subclass until

after Objectors submitted their initial expert reports.

      These factors, combined, reveal the unfairness of the opaque process that

produced this disproportionate allocation.

      3. The allocation violates Rule 23(e)(2)’s substantive fairness concerns.

      Under Rule 23(e)(2), there are four cross-checks that test the substantive

fairness of an allocation: the amount a subclass is allocated compared to (1) the

amount allocated to the other class members, (2) the subclass’s possible recovery,

(3) the strength of the subclass’s claims, and (4) the scope of the subclass’s release.

The allocation here fails all four substantive cross checks.




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      First, the mathematical disproportion between 93.5% and 6.5% is “facially

unfair[].” Holmes, 706 F.2d at 1148. Such extreme disproportion creates an

inference of unfairness. Id. And such extreme disproportion can only be justified

with proof that is extraordinary. Id. at 1147. The proponents of the settlement have

not rebutted the inference of unfairness with any evidence, much less substantial

evidence, that shows “the higher allocations to certain parties are rationally based on

legitimate considerations.” Id. at 1148. The assurances of counsel and a mediator

and the post-hoc rationalization of an economist, with no “proven facts” to

substantiate those opinions, is not sufficient. Id. at 11150–51.

      Second, the record contains no evidence of the Self-Funded Subclass’s

possible recovery. The “range of possible recovery” is a necessary factor to be

considered under Bennett. In re Equifax Inc. Customer Data Security Breach Litig.,

999 F.3d 1247, 1273 (11th Cir. 2021). Dr. Pakes explains that he did not do any

separate analysis of the possible recovery for the Self-Funded Subclass. Doc. 2610-

11 at 4. He simply “underst[oo]d” that the Subclass’s damages were “6.5% of total

damages” and thus “used that fraction to estimate damages to ASOs.” Id. ¶ 7. This

logic is circular: the sole number used to calculate the Self-Funded Subclass’s

recovery is the settlement number that must be defended. Circular logic equals null

analysis; a 6.5% allocation cannot justify itself.




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      With no analysis of the value of the Subclass’s claims, the allocation cannot

stand. See Mirfasihi v. Fleet Mortg., 356 F.3d 781, 786 (7th Cir. 2004) (reversing

allocation where the district court “made no estimate of the value of the legal claims”

of the subclass who received 0% of monetary fund); Staton v. Boeing, 327 F.3d 938,

975–76 (9th Cir. 2003) (reversing 16:1 ratio for lack of direct evidence supporting

plaintiffs’ counsel’s opinion on the strength of preferred subclass’s claims). Indeed,

the Eleventh Circuit reversed a settlement where there was no record evidence

establishing the range of possible recovery. Day, 729 F.3d at 1327–28.

      Relatedly, Subscribers and Dr. Mason assert without evidence that the Self-

Funded Subclass’s claims are not as strong as the Fully Insured Class’s claims. They

incorrectly allege that significant competition in the self-funded market supports that

assertion. But Dr. Mason admits that he did not do any analysis of competition. He

was not asked and did not do a price elasticity test and he did not have the data to do

one. Tr. II-64:15–22. He also did not do a SSNIP analysis, which would determine

the market within which a monopolist could impose a profitable increase in price.

Tr. II-66:11–17. Dr. Mason is just guessing about what levels of competition exist

and what price increases could be imposed on one type of plan versus the other.

Both Mr. Hausfield and Dr. Mason admit they are aware that TPAs do not provide

competition to BCBS in the National ASO market.              Tr. II-66–70, 90.    The




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unsupported arguments about the relative strength of the Self-Funded claims should

be disregarded.5

      Third, nothing justifies the shorter claims period for the Self-Funded

Subclass. As set forth in the Objectors’ opening briefs, the Cerven complaint—

which the settlement used to calculate the claims period for the Fully Insured

Class—must provide the claim date for the Self-Funded Subclass. This argument is

primarily legal and has been adequately briefed, but a few facts and concessions

from the Fairness Hearing show that the Self-Funded Subclass must receive the

benefit of the Cerven filing date.

      For one thing, the hearing confirmed that Cerven attacks the entire Blue

network. The class definition for the injunctive relief class is extremely broad:

      All persons or entities in the United States of America who are currently
      insured by any health insurance plan that is currently a party to a license
      agreement with BCBSA that restricts the ability of that health insurance
      plan to do business outside of any geographically defined area.




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       Dr. Mason also made the unsupported conclusion that premiums for fully
insured plans rose faster than for self-funded because of a difference in the market
power and therefore fully insured suffered more damage. Tr. II–211:18–21. Of
course, Dr. Mason did no market power study. And, his lack of knowledge of the
health insurance industry is exposed – premiums rose for fully insured plans because
of increasing healthcare costs. These same increased costs were borne by self-
funded plans, they were just paid by self-funded plans to healthcare providers while
the fully insured plans’ increased costs pass through Blue Cross to healthcare
providers. See BDO Report, Ex. A.

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Cerven Complaint at ¶ 20. This definition is not limited to certain types of plans.

Any member whose plan is subject to geographic restrictions is covered. The Cerven

complaint bolsters this analysis by discussing such things as Most Favored Nations

clauses, which reduce competition for all plans, regardless of plan type. Cerven

Complaint at ¶¶ 114–122. Cerven alleged anti-competitive behavior affecting the

prices insureds paid for the provision of health care “services” (id. at ¶¶ 35, 113,

159.d, 189.d), which would apply to every plan using the challenged networks,

regardless of plan type. Cerven also lumps fully insured and self-funded members

together in its count of total members that are subject to territorial restrictions. Id.

at ¶¶ 105–110.

      The Defendants admitted at the Fairness Hearing that they understood that the

relief sought would affect everyone in the Blue system—“the impact that this kind

of case would have on, you know, anyone, just given the markets we’re talking about

in general….”     Tr. II-163:12–18.6     The Court suggested that the Defendants

referenced a “huge class of a hundred million people that Mr. Boies was trying to

certify…,” (Tr. II. 155:9–12), though the Court allowed that “I don’t remember if it

a hundred million.” Tr. II-156:1–5. Subscribers’ counsel identified the total number



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      A fair reading of the Cerven complaint would cause any member of the Self-
Insured Subclass to believe that they were included in it. They would also have
considered that their claims were tolled under Am Pipe & Constr. Co. v. Utah, 414
U.S. 538, 555-59 (1974), while the litigation continued.

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of class members across both classes as approximately 100 million people. Tr. I-

50:2–7. The exhibits to Dr. Mason’s report show that there are more than 50 million

self-funded members in many years and constitute most of the class for every full

year in which they are included. Mason Report at Exhibit 1, Exhibit 2. As noted at

the Fairness Hearing, the only way for the number of affected members to approach

100 million is to include Self-Funded plans. Tr. II-156:1–2. The settlement numbers

do not estimate the enrollment of large fully insured plans, but Cerven emphasizes

that 83% of large groups self-insure (Cerven Complaint at ¶ 131) and notes “the vast

majority of large group consumers purchase ASO products rather than fully-insured

health insurance products….” Id. at ¶ 132. Indeed, in a remarkable concession on

this point, the Subscribers’ post-hearing brief asserts that “most fully-insured groups

fell squarely within Cerven’s [damages] class definition.” Doc. 2868 at 27.

      Additionally, the Subscribers articulated no reason why the Self-Funded

Subclass should not receive the same claim period as large fully insured plans. Both

types of plans were excluded from the damages classes in every complaint up until

the complaint filed with the settlement. Both groups’ damages claims were added

on the same day. But one group gets to claim back to 2008 and the other gets to

claim back only to 2015. In sum:




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                                                Large Fully          Self-Funded
                                               Insured Plans             Plans

 The Self-Funded Subclass is factually similar to large fully insured plans…

 Date of first damages claim               November 2, 2020       November 2, 2020

 Included in Cerven injunctive                     Yes                    Yes
 class?

 Understood by Defendants to be in                 Yes                    Yes
 injunctive class?

 Represented by a separate class                    No                    No
 representative?

   …But the settlement treats them differently by inequitably benefitting the large
                  fully insured plans at the expense of the Self-Funded Subclass.

 Given the benefit of Cerven for                   Yes                    No
 purposes of damages claim?

 Beginning date of claims period            February 7, 2008         September 1,
                                                                        2015

 Days in Claims Period                             4,635                 1,872

 This inequitable treatment gives fully insured plans a claims period that is almost
 2.5 times longer than the Self-Funded Subclass, even though they were added to
 the case on the same day.

      At the hearing, Subscribers articulated no principle of law justifying treating

these similarly-situated groups so differently. Instead, they confessed that Mr.

Feinberg—acting as “an invisible hand at the back of your head”––thought there was

a “rational basis” to give large fully insured plans benefits denied to the Self-Funded

Subclass. Tr. II-148:10–21. A mediator’s opinion is not evidence to support a



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massive disparity in the allocation. To be sure, Subscribers’ counsel at the hearing

and in their post-hearing briefs repeated various arguments about how Self-Funded

plans are not insurance, but those arguments have been adequately briefed already.

Doc. 2812-19 at 91–96; Doc. 2845 at 3–10.

      Fourth, the release that will bind the Self-Funded Subclass has the exact same

scope as the Fully Insured Class’s release, yet the Subclass is receiving a single-digit

payout. A 93.5%:6.5% ratio on monetary relief, contrasted with a 1:1 ratio on the

scope of the release, is incongruous and substantively unfair. See Petruzzi’s v.

Darling-Delaware, 880 F. Supp. 292, 299 (M.D. Penn. 1995) (refusing to approve

allocation that “provides compensation to 50% of the class but requires the entire

class to release its claims against the settling defendant.”). This is especially true for

the ERISA Plans. As the Department of Labor has pointed out, the Plans are

allocated 0%, but will be bound 100% by the same release. See Tr.III-7. Given that

the release binds all class members equally, a “share-and-share-alike formula” is the

only fair outcome. See In re Corrugated Container Antitrust Litig., 659 F.2d 1322,

1329 (5th Cir. Unit A 1981) (affirming equal distribution to pre- and post-1972/73

claimants, despite statute of limitations issues, where “all of the settlements contain

a provision releasing claims” stretching back to the earlier period).




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      4. An allocation is not necessary; claims should be paid based upon
         premiums and premium equivalents.

      There is no need for a subclass or an allocation among class members. Dr.

Mason testified that the BCBS Defendants do not separately account for the fully

insured versus the self-funded sources of their revenues. Tr.II-230–32. The Self-

Funded Subclass Objectors have shown that the BCBS Defendants instead track

premiums and premium equivalents for fully insured and self-funded customers,

respectively. Doc. 2845 at 10–13 (discussing Anthem testimony regarding premium

equivalents). See also Doc. 2812-9 at 14 n.54 (explaining that the quarterly reports

Dr. Mason received from the BCBS Defendants include in “gross revenue” “fully

insured premiums and premium equivalents for self-funded business”). Thus, there

is no need for an allocation. Rather, the settlement’s monetary relief should be

distributed to claimants based on the premiums or premium equivalents paid during

the claims period, and the claims should be paid to the Plans, not the employers

themselves. Where, as here, there is a fundamental intraclass conflict over the

allocation, one solution for the inherent unfairness is to do away with the allocation.

Dewey v. Volkswagen, 681 F.3d 170, 189 (3d Cir. 2012). This Court should follow

Dewey and eliminate the allocation altogether.




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                                    CONCLUSION

      For these reasons and those offered by the Self-Funded Subclass in their

objection, in their prior briefing, and at the Fairness Hearing, the Court should refuse

to finally approve the settlement proposal.

      Respectfully submitted this 8th day of December 2021.

                                                    /s/ Scott Burnett Smith
                                               One of the Attorneys for Objectors

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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 8, 2021, the foregoing was electronically

filed with the Clerk of Court using the CM/ECF system which will send notification

of such filing to all counsel of record.

                                                  /s/ Scott Burnett Smith
                                                      OF COUNSEL




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